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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

     ACADIA PHARMACEUTICALS INC.,                  )
                                                   )
                  Plaintiff,                       )
                                                   )
                       v.                          )    C.A. No. 1:20-cv-00985-GBW
                                                   )
                                                   )   (Consolidated)
     AUROBINDO PHARMA LIMITED, et al.,             )
                                                   )
                  Defendants.                      )


                                    [PROPOSED] ORDER

        Having considered Defendants MSN Laboratories Pvt. Ltd. and MSN Pharmaceuticals,

 Inc.’s motion (the “Motion”) for leave to respond to Plaintiff ACADIA Pharmaceuticals, Inc.’s

 Notice of Subsequent Authority dated September 29, 2023 [D.I. 272], it is hereby

        ORDERED that Defendants’ Motion is GRANTED.



                                   _______________________________________
                                   UNITED STATES DISTRICT COURT JUDGE
